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           EXHIBIT A
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                     2021 WL 2621689                              I. BACKGROUND
       Only the Westlaw citation is currently available.          This case is about an allegedly defective engine part in
        United States District Court, D. New Jersey.
                                                                  certain Audi and Volkswagen models. 2 (Am. Compl. ¶¶ 1–
             MATTHEW OPHEIM, et al., Plaintiffs,                  2.) Specifically, this case concerns a timing chain system,
                            v.                                    which contains multiple components. (Id. ¶ 62.) To simplify, a
                                                                  typical car engine requires that fuel and air mix and combust,
           VOLKSWAGEN AKTIENGESELLSCHAFT;
                                                                  while releasing waste products from combustion. (Id. ¶ 54.)
             VOLKSWAGEN GROUP OF AMERICA,
                                                                  To that end, a timing chain system controls the opening and
           INC.; AUDI AKTIENGESELLSCHAFT; and
                                                                  closing of an engine's intake valves (for introducing fuel
             AUDI OF AMERICA, INC., Defendants.                   and air) and exhaust valves (for releasing byproducts). (Id.
                                                                  ¶ 55.) Plaintiffs allege that the timing chain system at issue
                  Civ. No. 20-02483 (KM) (ESK)
                                                                  malfunctions and can cause the engine to lose power. (Id. ¶ 6.)
                                |
                        Filed 06/25/2021
                                                                  Despite knowledge of the defect, Defendants never disclosed
                                                                  it. (Id. ¶ 7.) Further, a timing chain system should usually
                                                                  last for 120,000 miles, and the maintenance schedules that
                           OPINION
                                                                  came with the cars did not state that the timing chain system
Hon. Kevin McNulty United States District Judge                   would need replacing early. (Id. ¶¶ 7, 10.) The New Vehicle
                                                                  Limited Warranty (“NVLW”) provided with the vehicles
 *1 Plaintiffs in this putative class action purchased            promised repairs or replacement only for four/five years or
Volkswagen or Audi vehicles with an allegedly defective           50,000/60,000 miles (depending on the exact model). (Id.
yet concealed engine part, i.e., a timing chain.                  ¶ 11.) Although the timing chain system was of course
Plaintiffs sued Volkswagen Aktiengesellschaft (“VW AG”),          present in the vehicles when Plaintiffs purchased them and the
Volkswagen Group of America, Inc. (“VW America”), Audi            warranty began, its defects often did not manifest themselves
Aktiengesellschaft (“Audi AG”), and Audi of America,              until later. (Id. ¶ 12.) Defendants knew that the defect would
Inc. (“Audi America”). Plaintiffs, who hail from fourteen         emerge later, but concealed the defect so that they would not
states, assert contract, tort, and statutory claims under their   have to repair it under the NVLWs. (Id.) This had the effect
respective states’ laws, as well as federal claims under the      of shifting the repair costs to consumers. (Id.)
Magnuson-Moss Warranty Act (“MMWA”), 15 U.S.C. §
2301 et seq. Audi AG moves to dismiss the complaint for lack       *2 Plaintiffs purchased these vehicles from dealerships,
                                                                  some of them new and some used. (See id. ¶ 1.) They sued
of personal jurisdiction, see     Fed. R. Civ. P. 12(b)(2). (DE
                                                                  Defendants for fraud, negligent misrepresentation, breach of
       1
48.)       VM America moves to dismiss for failure to state a     express and implied warranties, violation of the MMWA,
claim, see       Fed. R. Civ. P. 12(b)(6), and, as to the MMWA    unjust enrichment, and violations of consumer fraud and
                                                                  unfair and deceptive trade practices statutes. (Id. ¶ 16.)
claims, for lack of subject-matter jurisdiction, see Fed. R.
                                                                  Because Plaintiffs live in different states, they allege their
Civ. P. 12(b)(1). (DE 45.) Audi AG joins in VM America's
                                                                  claims under their respective states’ laws (except for the
motion to dismiss.
                                                                  federal MMWA claim). They seek to represent a nationwide
                                                                  class of purchasers, as well as sub-classes of purchasers in
For the following reasons, Audi AG's motion (DE 48)
                                                                  each state. They invoke jurisdiction for their state-law claims
is DENIED without prejudice to renewal following
                                                                  under the Class Action Fairness Act of 2005 (“CAFA”), Pub.
jurisdictional discovery. VW America's motion, joined by
Audi AG, is GRANTED IN PART and DENIED IN PART.                   L. No. 109-2, 119 Stat. 4 (codified in pertinent part at    28
In sum, the MMWA claims, fraud claims based on affirmative        U.S.C. §§ 1332(d),      1441,     1446). (Am. Compl. ¶¶ 19,
misrepresentations, implied warranty claims under Illinois        189.)
and Oregon law, and negligent misrepresentation claims
under Georgia and Oregon law are dismissed. VW America's
motion to dismiss is otherwise denied.


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For defendants, Plaintiffs named (1) VW AG, the                      v. Roche Holdings, Ltd., 292 F.3d 361, 368 (3d Cir. 2002).
manufacturer of Volkswagen vehicles, which is based in               Where factual allegations are disputed, however, “the plaintiff
Germany; (2) VW America, VW AG's American subsidiary;                must sustain its burden of proof in establishing jurisdictional
(3) Audi AG, the manufacturer of Audi vehicles, which                facts through sworn affidavits or other competent evidence.”
is based in Germany; and (4) Audi America, Audi AG's                 Patterson v. FBI, 893 F.2d 595, 603–04 (3d Cir. 1990)
American counterpart. (Id. ¶¶ 43–48.) These entities are             (citation omitted). If the district court does not hold an
all within the same corporate family. (Id.) Although the             evidentiary hearing, “the plaintiff need only establish a prima
cars are manufactured in Germany, VW America, which is
                                                                     facie case of personal jurisdiction.”  O'Connor v. Sandy
incorporated in New Jersey and based in Virginia, acts as VW
                                                                     Lane Hotel Co., 496 F.3d 312, 316 (3d Cir. 2007).
AG and Audi AG's distributor in the United States. (Id.)

For example, Audi AG has importer agreements with VW                    B. Failure to State a Claim
America, pursuant to which Audi AG manufactures cars                  *3 Federal Rule of Civil Procedure 8(a) does not require
to serve the American market, and VW America serves                  that a pleading contain detailed factual allegations but “more
as Audi AG's “importer, distributor, and marketer” in the
                                                                     than labels and conclusions.”     Bell Atl. Corp. v. Twombly,
United States by creating and contracting with a network of
                                                                     550 U.S. 544, 555 (2007). The allegations must raise a
dealerships to sell Audi cars to consumers. (Importer Agmt.
                                                                     claimant's right to relief above a speculative level, so that a
at 4.) Audi AG and VW America's relationship is expressly
“based upon mutual understanding, cooperation, trust, and            claim is “plausible on its face.”  Id. at 570. That standard
confidence.” To that end, the Agreement obligates Audi AG            is met when “factual content [ ] allows the court to draw
to, e.g., (1) consult with VW America to develop a “sales            the reasonable inference that the defendant is liable for the
network” in the U.S. (id. § 10(a)); (2) consult with VW
                                                                     misconduct alleged.”       Ashcroft v. Iqbal, 556 U.S. 662,
America about agreements with dealerships (id. § 10(b));
(3) work with VW America “to plan and effectively utilize            678 (2009).      Rule 12(b)(6) provides for the dismissal of a
[Audi AG's] production capacity,” (id. § 11(a)); (4) deliver         complaint if it fails to state a claim. The defendant bears the
products to VW America based on specific purchase orders             burden to show that no claim has been stated. Davis v. Wells
(id. § 11(e)); (5) establish guidelines for VW America's             Fargo, 824 F.3d 333, 349 (3d Cir. 2016). I accept facts in
marketing and public relations efforts (id. § 15(a)); and (6)        the complaint as true and draw reasonable inferences in the
receive reports from VW America regarding business in the            plaintiff's favor. Morrow v. Balaski, 719 F.3d 160, 165 (3d
American region (id. § 21(b)). Audi America is an operating          Cir. 2013) (en banc).
unit of VW America; it is not a subsidiary of Audi AG and
has no independent existence. (Palmer Decl. 10–11.)
                                                                     III. DISCUSSION
Audi AG moves to dismiss for lack of personal jurisdiction,          I take up Audi AG's personal jurisdiction motion first. See
and VW America moves to dismiss for failure to state a claim,
                                                                        Lightfoot v. Cendant Mortg. Corp., 137 S. Ct. 553, 562
in which Audi AG joins in the alternative. Given that Audi
                                                                     (2017) (“A court must have ... power over the parties before it
America has no independent existence, VW America moves
                                                                     (personal jurisdiction) before [the court] can resolve a case.”).
on its behalf. VW AG had not been served when the motions
                                                                     Concluding that I cannot dismiss Audi AG, I turn to the
were filed. (VW Mot. at 1 n.1)
                                                                        Rule 12(b)(6) motion.

II. STANDARDS OF REVIEW
                                                                        A. Personal Jurisdiction over Audi AG
  A. Personal Jurisdiction                                           Audi AG moves to dismiss all claims against it for lack of
On a      Rule 12(b)(2) motion, the plaintiff bears the burden       personal jurisdiction. A federal court may exercise personal
of establishing sufficient facts to show that jurisdiction exists.   jurisdiction over a defendant to the extent authorized by
                                                                     state law. Fed. R. Civ. P. 4(k)(1)(A). New Jersey provides
    Marten v. Godwin, 499 F.3d 290, 295–96 (3d Cir. 2007).           for jurisdiction coextensive with constitutional due process.
Initially, a court must accept the plaintiff's allegations as true
                                                                        Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 96 (3d
and construe disputed facts in favor of the plaintiff.    Pinker


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Cir. 2004) (citing N.J. Ct. R. 4:4-4). Due process allows          a collaborative relationship in which Audi AG is attuned to
for general or specific jurisdiction. Danziger & De Llano,         the needs and realties of the American market.
LLP v. Morgan Verkamp LLC, 948 F.3d 124, 129 (3d Cir.
2020). Plaintiffs do not argue that the Court has general           *4 Moreover, some of the obligations suggest that Audi AG
jurisdiction (see Opp. to Audi Mot. at 5–7), so I focus on         works with specific sub-markets in mind. For example, Audi
specific jurisdiction. 3                                           AG must consult with VW America about developing a sales
                                                                   network and dealership agreements. It is plausible, then, that
A court has specific jurisdiction when the defendant has           Audi AG at least knows which states it is serving. Indeed,
contacts with the forum, and a plaintiff's claims “arise out       VW America and “Audi” maintain a “regional” office in
                                                                   New Jersey. (Am. Compl. ¶ 20 (citing Volkswagen Group of
of or relate to” those contacts.      Ford Motor Co. v. Mont.      America Locations, Volkswagen Group of America, https://
Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1025 (2021) (citation      www.volkswagengroupofamerica.com/locations).)
omitted). To apply that principle, the Third Circuit uses a
three-part test, requiring the plaintiff to show that (1) the      Further, Audi AG delivers products to VW America based
defendant purposefully availed itself of the forum, (2) the        on specific orders, and one can infer that those orders
claims arise out of or relate to at least one of the defendant's   may specify dealerships or sub-markets. This means that,
activities, and (3) exercising personal jurisdiction comports      although VW America serves as a middleman, Audi AG
with fair play and substantial justice.   O'Connor, 496 F.3d       effectively ships its products to specific markets within the
at 317. I discuss each prong in turn.                              US. Accordingly, Audi AG is not some arms-length supplier.

                                                                   Given the Importer Agreement, I cannot say that Audi AG's
                                                                   contacts with the New Jersey market are “random, isolated,
                   1. Purposeful Availment
                                                                   or fortuitous.”   Ford, 141 S. Ct. at 1024 (citation omitted).
To start, the plaintiff must show that the defendant took “some    Instead, it is plausible that Audi AG worked with VW
act by which [it] purposefully avails itself of the privilege      America to supply the American market, and that work
of conducting activities within the forum State.”     Ford,        could at times be forum-specific, such as by sending cars
141 S. Ct. at 1024 (citation omitted). “[W]hat is necessary        earmarked for certain regions. True, the Third Circuit has
                                                                   held that efforts to reach the American market writ large
is a deliberate targeting of the forum.”      O'Connor, 496        do not show purposeful availment as to the specific forum.
F.3d at 317. “[R]andom, isolated, or fortuitous” contacts with
                                                                      Shuker v. Smith & Nephew, PLC, 885 F.3d 760, 779 (3d
the forum will not do.      Ford, 141 S. Ct. at 1024 (citation
omitted).                                                          Cir. 2018); D'Jamoos ex rel. Estate of Weingeroff v. Pilatus
                                                                   Aircraft Ltd., 566 F.3d 94, 104 (3d Cir. 2009). But, while
To show purposeful availment, Plaintiffs point to, among           the Importer Agreement may not be enough on its own to
other things, the sample Importer Agreement between Audi           establish jurisdiction, it still indicates that forum-specific
AG and VW America. (Opp. to Audi Mot. at 7–12.) The                facts could exist. That is sufficient to deny the motion to
obligations in that Agreement make it plausible that discovery     dismiss in favor of discovery.     Toys “R” Us, 318 F.3d at
will reveal facts showing that Audi AG deliberately targets        456.
New Jersey consumers. When allegations and evidence
“suggest with reasonable particularity the possible existence      Regardless, Plaintiffs have another theory of purposeful
of the requisite contacts between [Audi AG] and the forum          availment available to them: VW America is incorporated
state, [Plaintiffs’] right to conduct jurisdictional discovery     in New Jersey, so by doing business with a New Jersey-
should be sustained.”   Toys “R” Us, Inc. v. Step Two, S.A.,       incorporated company, Audi AG purposefully directed its
318 F.3d 446, 456 (3d Cir. 2003) (cleaned up). The Importer        activities at New Jersey. This argument resembles one I
Agreement reveals that Audi AG does not simply ship a              recently addressed in Rickman v. BMW of North America
lump number of cars to VW America to then distribute in the        LLC, Civ. No. 18-4363, 2021 WL 1904740 (D.N.J. May 11,
United States independently. Rather, the Agreement evinces         2021). The defendants there were a German car manufacturer
                                                                   (BMW AG) and its American distributor (BMW NA),
                                                                   headquartered in New Jersey. Id. at *1–2. The plaintiffs


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sued both, alleging that they falsely marketed vehicles as
                                                                       Goodyear Dunlop Tires Operations, S.A. v. Brown, 564
ones producing “low emissions.” Id. I held that jurisdictional
                                                                   U.S. 915, 924 (2011)). Accordingly, the theory of personal
discovery was warranted, reasoning that because “BMW
                                                                   jurisdiction here becomes straightforward and plausible. The
AG serves the American market through BMW NA,” then
                                                                   minimal facts provided thus far suggest that Audi AG has
“significant coordination between the two is plausible.” Id. at
                                                                   an ongoing, substantial relationship with VW America as
*5.
                                                                   its gateway into the American market. The law views VW
                                                                   America as a New Jersey “person,” so by regularly transacting
The Audi AG-VW America relationship is similar to the
                                                                   with VW America, Audi AG deliberately targeted New
BMW AG-BMW NA relationship—with one key difference:
                                                                   Jersey. Cf. Meridian Consulting I Corp. v. Eurotec Canada
The New Jersey connection in Rickman was that BMW NA
                                                                   Ltd., Civ. No. 19-22197, 2021 WL 689132, at *4–7 (D.N.J.
was headquartered there, while the New Jersey connection
                                                                   Feb. 22, 2021) (Canadian company's substantial business with
here is that VW America is incorporated in New Jersey. VW
                                                                   New Jersey company could subject it to personal jurisdiction
America's headquarters, however, are in Virginia.
                                                                   in New Jersey). Plaintiffs have at least made out a prima facie
                                                                   showing for purposeful availment on this theory as well.
Is this a distinction with a difference? On one hand, it is
easier to see deliberate targeting of the forum when the theory
of personal jurisdiction is that a foreign defendant worked
closely with a defendant headquartered in the forum. One can                       2. “Arise out of or relate to”
readily infer that communications were sent into the forum
                                                                   Even if the defendant has sufficient contacts with a forum,
and that the foreign defendant knew it was doing business
                                                                   the plaintiffs’ claims must “arise out of or relate to” those
with a forum-based entity. The physical presence of the co-
defendant in the forum means that efforts to contact or work       contacts.    Ford, 141 S. Ct. at 1025 (citation omitted).
with that defendant are more tied to the forum. The same is not    This used to mean, in the Third Circuit's view, that a causal
necessarily true when a defendant is merely incorporated in        connection existed between the contacts and the claims. I have
the state. Can a foreign defendant then be said to have targeted   concluded that that causation requirement does not survive
a forum by transacting with a co-defendant incorporated in         the Supreme Court's holding in Ford. Rickman, 2021 WL
that forum?                                                        1904740, at *8. (I do not repeat that discussion here.)

 *5 Principles of corporate law and personal jurisdiction          Freed from a strict causation requirement, Plaintiffs lean
suggest yes. The Supreme Court's go-to commentary on               heavily on Ford as factually analogous. There, Ford did
general jurisdiction explains:                                     not prevail on its argument that plaintiffs had to show that
                                                                   “the company had designed, manufactured, or ... sold in
                                                                   the State the particular vehicle involved in the accident.”
             The law treats corporations like legal                   141 S. Ct. at 1023. The Court, however, looked not
             persons, and the place of incorporation               to the particular vehicle, but to facts showing that Ford
             and the principal place of business are               extensively served the market in Minnesota and Montana.
             both analogous to domicile .... [T]he
             corporation ... cannot ever be absent                    Id. at 1028. Accordingly, the Supreme Court held that
             from the state of incorporation ...                   Ford's contacts in the forums (promoting and selling cars
             [E]ven if a corporation neither does                  there) were sufficiently related to the claims (arising from an
             business nor maintains an office in the               accident involving a Ford car in the forum). Id.
             incorporating state, the incorporation
             process itself provides notice of the                 This case is sufficiently analogous. The Importer Agreement
             potential for judicial jurisdiction.                  at least shows how Audi AG, in conjunction with VW
                                                                   America, serves the American market, and it is plausible
                                                                   that those efforts entail forum-specific contacts, including
                                                                   those directed at New Jersey. Next, the New Jersey plaintiffs
Brilmayer, et al., A General Look at General Jurisdiction, 66
                                                                   purchased their cars here and experience the “injury” here,
Tex. L. Rev. 721, 733–34 (1988) (cited favorably by, e.g.,
                                                                   i.e., owning/using a defective car. The “relate to” prong is thus



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satisfied because Audi AG “serves a market for a product in       and thus obviate the need for jurisdictional discovery. They
                                                                  do not.
the forum State and the product malfunctions there.” Ford,
141 S. Ct. at 1027. “Or said another way, if [Audi AG's]
                                                                  In this connection I consider (1) Audi AG's burden, (2) New
business deliberately extended into [New Jersey] (among
                                                                  Jersey's interest, (3) Plaintiffs’ interest, (4) efficiency, and (5)
other States), then [New Jersey's] courts could hold [it]
                                                                  other forums’ interests. Id. Although Audi AG is a foreign
accountable for a car's [malfunctioning] there—even though
                                                                  company, it extensively targets the American market and
the vehicle had been designed and made overseas ....” Id.
                                                                  has a substantial relationship to a New Jersey company. So
                                                                  it cannot complain of a severe burden. See Rickman, 2021
 *6 There is a harder question as to whether I have
                                                                  WL 1904740, at *7; In re Platinum & Palladium Antitrust
jurisdiction over the claims asserted by non-New Jersey
                                                                  Litig., 449 F. Supp. 3d 290, 327 (S.D.N.Y. 2020). New Jersey
residents. They did not purchase their cars in New Jersey,
                                                                  has an interest in giving its residents a forum to vindicate
and they have not experienced any injury in New Jersey.
                                                                  their legal interests for injuries occurring here. Plaintiffs
Nonetheless, Plaintiffs’ alternative theory of jurisdiction
                                                                  have an interest in litigating here because some of them are
suffices for the non-New Jersey plaintiffs. Pursuant to the
                                                                  New Jersey residents. As to the fourth and fifth factors, the
Importer Agreement, Audi AG retained some control over
                                                                  alternative to litigating here would seem to be a separate suit
what vehicles were shipped to the United States and how
                                                                  against Audi AG in Germany, and that is plainly inefficient
they were marketed and distributed. There is, then, plausibly
                                                                  for the remaining parties. Audi AG has made no argument that
some coordination between Audi AG and VW America.
                                                                  Germany has a stronger interest.
The claims here are that defects were not disclosed by
the written materials accompanying the cars or defendants’
                                                                  Thus, there is no “compelling case” for dismissal that would
advertisements. (E.g., Am. Compl. ¶¶ 81–83.) It is plausible,
given the obligations in the Importer Agreement, that Audi        moot the need for jurisdictional discovery. See          Carteret,
AG directed or collaborated with VW America regarding             954 F.2d at 150.
how the models would be sold and promoted. The non-New
Jersey plaintiffs’ claims would have stemmed from decisions
made within that relationship, which necessarily touched New
                                                                                                 ***
Jersey because VW America is a New Jersey corporation.
Thus, there is a plausible connection between the non-            All said, this is not a case in which the Court can resolve
New Jersey plaintiffs’ claims and New Jersey. See Rickman,        its jurisdiction over a key defendant based on allegations
2021 WL 1904740, at *9–10 (discovery was warranted to             and preliminary facts. Better, I think, to understand
develop how German manufacturer interacted with American          the relationship more fully between Audi AG and VW
distributor to promote vehicles in the US when plaintiffs         America before proposing to dismiss Audi AG from this
claimed those promotions were misleading);      Ponzio v.         case. Audi AG's motion to dismiss for lack of personal
Mercedes-Benz USA, LLC, 447 F. Supp. 3d 194, 217 (D.N.J.          jurisdiction will be denied without prejudice to renewal
2020) (when marketing decisions were made in New Jersey,          following jurisdictional discovery, under the supervision of
the court could exercise jurisdiction over non-New Jersey         the Magistrate Judge assigned to the case.
plaintiffs’ claims).

                                                                     B.    Rule 12(b)(6)
                                                                  I address VW America's arguments for dismissal as to each
           3. Fair Play and Substantial Justice
                                                                  type of claim (e.g., implied warranty, fraud, etc.). Before I do
I conclude that jurisdictional discovery is warranted to          so, I deal with three clean-up matters.
develop facts regarding minimum contacts. There are
uncommon cases, however, in which “other considerations           First, VW America mostly relies on general principles that
                                                                  cut across different states’ laws. Unless otherwise noted, VW
would render jurisdiction unreasonable.”          Carteret Sav.   America does not argue that any particular point of law differs
Bank, FA v. Shushan, 954 F.2d 141, 150 (3d Cir. 1992)             state-to-state. As a result, I discuss VW America's arguments
(citation omitted). So I briefly address whether considerations
of fair play and substantial justice would defeat jurisdiction


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for dismissal mostly in terms of New Jersey law or general
                                                                    at *14; see    O'Keeffe v. Snyder, 416 A.2d 862, 872 (N.J.
principles.
                                                                    1980); Lopez v. Swyer, 300 A.2d 563, 567 n.2 (N.J. 1973).
Second, Plaintiffs, in their Opposition brief, state that they      VW America offers two reasons why the doctrine does not
                                                                    apply here, but neither is persuasive.
withdraw three of their state-law claims. 4 (Opp. at 2 n.5.)
Having heard no opposition, I treat the statement in the brief
                                                                    First, VW America argues that two plaintiffs, who purchased
as a voluntary dismissal and grant leave to dismiss those
                                                                    used vehicles, did not purchase their vehicles within the
claims. See Fed. R. Civ. P. 41(a).
                                                                    limitations period, which began when the original owner
                                                                    purchased the vehicle. (VW Mot. at 9–11.) For this
 *7 Third, VW America asks that all claims be dismissed
                                                                    argument, they rely on an affidavit from a VW America
on “group pleading” grounds, because the factual allegations
                                                                    employee attesting to VW America's “vehicle records” and
of the Amended Complaint do not adequately distinguish
                                                                    state department of motor vehicle forms. (Id.) Neither is
among defendants. (VW Mot. at 6–7.) But, as the discussion
on personal jurisdiction indicates, the entities here are           appropriate to consider now, on a      Rule 12(b)(6) motion.
intertwined, and more discovery is needed to determine the
                                                                    The affidavit is plainly improper.     Schmidt v. Skolas, 770
precise role of each. In such circumstances, there is no need
                                                                    F.3d 241, 249 (3d Cir. 2014). As for the DMV forms, while
to dismiss the complaint.    In re Volkswagen Timing Chain          a court may take judicial notice of some public records,
Prod. Liab. Litig., Civ. No. 16-2765, 2017 WL 1902160, at           id., the forms are bare, and Plaintiffs may be able to argue
*9 (D.N.J. May 8, 2017).                                            for different inferences to be taken therefrom, so to draw
                                                                    conclusive facts from them is premature, see        S. Cross
I turn to the main arguments.
                                                                    Overseas Agencies, Inc. v. Wah Kwong Shipping Grp., Ltd.,
                                                                    181 F.3d 410, 427 n.7 (3d Cir. 1999) (distinguishing between
                                                                    taking notice of existence of documents versus the facts or
                    1. Implied Warranty                             arguments asserted therein).

VW America offers four reasons to dismiss the implied               Next, VW America argues that the Amended Complaint
warranty claims: (a) they are barred by the statute of              fails to allege that VW America took affirmative steps to
limitations, (b) they are barred by the NVLWs, (c) they do not      conceal the defect, as required for the doctrine to apply. (VW
allege that the cars fell below merchantability standards, and      Mot. at 10–11.) But “a plaintiff is not required to plead,
(d) Plaintiffs fail to satisfy some states’ privity requirements.   in a complaint, facts sufficient to overcome an affirmative
(VW Mot. at 7–18.) With one minor exception, these reasons
do not justify dismissal.                                           defense” like the statute of limitations.   Stephens v. Clash,
                                                                    796 F.3d 281, 288 (3d Cir. 2015) (citation omitted). Here, “the
                                                                    allegations [do] not rule out the possibility that the statute

                  a. Statute of Limitations                         of limitations should have been tolled.”   Wiesniewski, 857
                                                                    F.3d at 158. The facts regarding VW America's affirmative
VW America moves to dismiss the implied warranty claims             actions will need to be developed in discovery.
as untimely. (VW Mot. at 7–11.) A court may dismiss a claim
as untimely “only when the statute of limitations defense
is apparent on the face of the complaint.”        Wisniewski                                  b. NVLW
v. Fisher, 857 F.3d 152, 158 (3d Cir. 2017). Plaintiffs do
not contest that their claims fall outside of the applicable         *8 VW America next argues that Plaintiffs did not
limitation periods. Instead, they argue that the statute of         experience any problems with the timing chain system during
limitations be tolled based on fraudulent concealment of the        the implied warranty period, as limited by the NVLW. (VW
defect. (Opp. to VW at 10–11.) That doctrine tolls a claim          Mot. at 12–14.) Plaintiffs respond that the Court should not
when the defendant concealed facts necessary for a plaintiff to     enforce that limitation at this time because the Amended
                                                                    Complaint alleges that the NVLW is unconscionable. (Opp.
discover he had a claim.    Timing Chain, 2017 WL 1902160,          to VW Mot. at 12–14.)



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                                                                      risk because it can cause the engine to lose power and thus the
A plaintiff may avoid the durational limits of a warranty             ability to accelerate, maintain speed, or brake. (Am. Compl. ¶
if allegations indicate that the warranty is unconscionable.
                                                                      6.) Plaintiffs have thus satisfied the Rule 12(b)(6) standard
    Timing Chain, 2017 WL 1902160, at *11; see also                   because they provide factual allegations sketching out how
DeFrank v. Samsung Elecs. Am., Inc., Civ. No. 19-21401,
                                                                      the defect renders the vehicle unsafe. See    Nelson, 894
2020 WL 6269277, at *17 (D.N.J. Oct. 26, 2020). Plaintiffs
                                                                      F. Supp. 2d at 567 (allegations of transmission failure are
must plead (1) substantive unconscionability, i.e., the
                                                                      sufficient to state a claim).
contract “involving an exchange of obligations so one-sided
as to shock the court's conscience,” and (2) procedural
unconscionability, i.e., “an inequality of bargaining power.”
DeFrank, 2020 WL 6269277, at *18 (citations omitted).                                           d. Privity
Plaintiffs adequately allege both here. Courts have held
                                                                       *9 VW America argues that claims under California,
that a warranty is substantively unconscionable when a car
                                                                      Florida, Georgia, Illinois, New York, North Carolina, Ohio,
manufacturer knew “that class engines would fail after the end
                                                                      and Washington law must be dismissed because those states
of the warranty period but before the vehicle's expected useful
                                                                      require vertical privity. (VW Mot. at 16–18.) Vertical privity
life.” Gelis v. Bayerische Motoren Werke Aktiengesellschaft,
                                                                      means that Plaintiffs must have purchased the product
Civ. No. 17-7386, 2018 WL 6804506, at *18 (D.N.J. Oct. 30,
2018). Plaintiffs allege just that. (Am. Compl. ¶¶ 123, 132–          directly from the manufacturer, not a dealership.   Clemens
33, 136.) Courts have held that a warranty is procedurally            v. DaimlerChrysler Corp., 534 F.3d 1017, 1023 (9th Cir.
unconscionable when the manufacturer knew of the defect               2008) (California law). Plaintiffs acknowledge the privity
and concealed it while the consumer had no means to                   requirement but argue that most states recognize that a third-
negotiate the warranty. DeFrank, 2020 WL 6269277, at                  party beneficiary of the contract between the manufacturer
*18 (collecting cases). 5 The same is alleged here. Because           and dealership, i.e., the consumer, can still bring a claim.
Plaintiffs plausibly allege that the NVLW is unconscionable,          (Opp. to VW Mot. at 17.) Along the same lines, some
its durational limit cannot be invoked to bar their implied           states recognize that a dealership may act as an agent of
warranty claims at the motion to dismiss stage. Whether the           the manufacturer such that the plaintiff's purchase from
NVLWs are truly unconscionable, as claimed, must await                the dealership creates a “direct nexus” to the manufacturer.
development in discovery.                                             Wilson v. Volkswagen Grp. of Am., Inc., Civ. 17-23033, 2018
                                                                      WL 9850223, at *4 (S.D. Fla. Nov. 30, 2018) (citations
                                                                      omitted). While not all these states have precedent clearly
                                                                      endorsing such exceptions to the privity requirement, a
                      c. Merchantability                              persuasive consensus of courts has emerged to recognize the
VW America argues that the implied warranty claims fail               exceptions. 6 Moreover, it is basic contract law that third
because the implied warranty of merchantability provides              parties may, in certain circumstances, enforce a contract. See
only for a minimum level of quality, and the fact that Plaintiffs     Restatement (Second) of Contracts § 302 (Am. Law Inst.
drove their cars for years problem-free show that the cars            1979). Accordingly, Plaintiffs plausibly are in privity with
met the requisite level of quality. (VW Mot. at 14–16.)               the manufacturers here because either they, as end-users,
“In order for the implied warranty of merchantability to be           are the beneficiaries of the manufacturers’ contracts with
breached, the product at issue must have been defective or            dealerships, or the dealerships can be said to act as agents for
not fit for the general purpose for which it was manufactured         the manufacturer. 7 Again, this defense, whatever its merits,
and sold.” Argabright v. Rheem Mfg. Co., 258 F. Supp. 3d
                                                                      is unsuitable for adjudication on a    Rule 12(b)(6) motion.
470, 484 (D.N.J. 2017) (citations omitted). As applied to
cars, this means that the car must “provide safe, reliable
                                                                      The exception, however, is Illinois. The Illinois Supreme
transportation.”      Nelson v. Nissan N. Am., Inc., 894 F.           Court has strictly enforced the privity requirement and
Supp. 2d 558, 567 (D.N.J. 2012) (citations omitted); see also
                                                                      refused to create exceptions.  Manley v. Hain Celestial
In re FCA US LLC Monostable Elec. Gearshift Litig., 334
                                                                      Grp., Inc., 417 F. Supp. 3d 1114, 1124 (N.D. Ill. 2019)
F.R.D. 96, 112 (E.D. Mich. 2019) (collecting cases across
                                                                      (collecting cases). In other words, the Illinois privity
jurisdictions). Plaintiffs allege that the defect presents a safety



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requirement, being categorical as a matter of law, may furnish
a basis for a    Rule 12(b)(6) dismissal. 8 See Quitno v. Gen.                        b. Warranty Period
Motors, LLC, No. 18-cv-7598, 2020 WL 777273, at *5 (N.D.
Ill. Feb. 18, 2020). Accordingly, Count 36 will be dismissed.     *10 VW America argues that an express warranty claim
                                                                 must fail if, as here, the defect did not become apparent during
                                                                 the warranty period. (VW Mot. at 20–25.) But, as I explained,
                                                                 Plaintiffs put forward enough allegations to raise an inference
                            ***                                  that the NVLW is unconscionable, so the fact that the engines
                                                                 did not fail during the warranty period is not fatal at this stage.
For the reasons above, the motion to dismiss the implied
warranty claims will be denied except as to Count 36, which      (See Section III.B.1.b, supra.) See also          Timing Chain,
will be dismissed.                                               2017 WL 1902160, at *11.



                   2. Express Warranty                                                 c. NVLW Coverage

VW America makes four arguments why the express warranty         VW America argues that the express warranty claims
claims should be dismissed: (1) they are time-barred as          fail because the NVLWs do not cover the design defects
to some Plaintiffs, (2) defects did not manifest during the      which form the basis of Plaintiffs’ claims. (VW Mot.
warranty period, (3) the NVLWs do not cover the defects          at 25–27.) Rather, the NVLWs “cover[ ] any repair or
alleged, and (4) some Plaintiffs have not alleged that the       replacement to correct a defect in manufacturer's material and
NVLW was the basis for their bargain.                            workmanship.” (NVLW at 7; see also Am. Compl. ¶ 11.)

                                                                 The Third Circuit interpreted near-identical warranty

                 a. Statute of Limitations                       language in Coba v. Ford Motor Co., 932 F.3d 114 (3d Cir.
                                                                 2019), as amended (July 26, 2019). The Court held that the
VW America argues that claims under California, Colorado,        terms “material and workmanship” do not encompass design
Massachusetts, New York, North Carolina, and Ohio law are
time-barred because, under those states’ law, the limitations    defects.     Id. at 121. Based on the ordinary meaning of the
period for claims arising from NVLW-type warranties runs         terms, “defects in ‘workmanship’ and ‘materials’ are flaws
from the date of delivery—regardless of when the defect is       pertaining to the construction or manufacture of a product,
                                                                 while defects in ‘design’ are shortcomings that arise in the
discovered. (VW Mot. at 19–20.) See, e.g.,         Trans-Spec    plans for a product's creation.” Id. In other words, “a ‘design’
Truck Serv. v. Caterpillar Inc., 524 F.3d 315, 323–24 (1st       defect is a flaw inherent in the product's intended operation
Cir. 2008). But VW America overlooks that, despite this          and construction.” Id. Applying that understanding, the Court
strict accrual rule, tolling may still be available under the    held that claims arising from a car manufacturer's use of
separate fraudulent concealment doctrine. E.g., New Eng.         certain fuel-tank coatings were not covered by the warranty
Power Co. v. Riley Stoker Corp., 477 N.E.2d 1054, 1059           because “[t]he fundamental nature of the defect relates to the
                                                                 overall plan of construction and operation of the fuel tanks”
(Mass. Ct. App. 1985);       Allen v. Andersen Windows, Inc.,
913 F. Supp. 2d 490, 509–10 (S.D. Ohio 2012). Indeed,            and all fuel-tanks suffered from the problem.          Id. at 123
VW America cites no authority for the proposition that           (quotation marks and citation omitted).
tolling is unavailable for the express warranty claims, so any
such argument is forfeited. Because Plaintiffs have a viable     Whether Coba requires dismissal of the claims here is a
fraudulent concealment theory, I cannot dismiss the express      close call. On one hand, the thrust of Plaintiffs’ claims is
warranty claims on the pleadings. (See Section III.B.1.a,        aimed at the design of the timing chain system. The Amended
supra.)                                                          Complaint goes into detail about how the timing chain system
                                                                 fails and which components may be the culprit. (Am. Compl.
                                                                 ¶¶ 61–78.) Further, problems with the timing chain affect a
                                                                 large swath of cars. (Id. ¶ 111.) These allegations suggest



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a design defect claim because Plaintiffs take issue with            a certain way or whether something in the manufacturing
how the timing chain operates and do not strongly suggest           process affected functionality. Those facts are in the hands
that anything in the manufacturing process is to blame. See         of Defendants, so the lack of specific allegations along those
                                                                    lines should not be fatal.
   Coba, 932 F.3d at 123.

                                                                    Moreover, whether the timing chain system's defect is one
Coba affirmed my own decision rejecting a design defect
                                                                    of design or manufacturing is not just a factual, but a legal
claim on just these grounds, but that decision was in the
                                                                    conclusion. A plaintiff is not bound by the legal theories
context of a motion for summary judgment.               Coba v.     in a complaint, and they can change with discovery. See
Ford Motor Co., Civ. No. 12-1622, 2016 WL 5746361,
                                                                       Johnson v. City of Shelby, 574 U.S. 10, 11 (2014) (per
at *8 (D.N.J. Sept. 30, 2016). At the motion to dismiss
                                                                    curiam) (“Federal pleading rules ... do not countenance
stage, the preference in this District has been to let Plaintiffs
                                                                    dismissal of a complaint for imperfect statement of the
develop facts in discovery to flesh out the precise source
of the problem and their theory of the case. In re Subaru           legal theory supporting the claim asserted.”);   Alin, 2010
Battery Drain Prods. Liab. Litig., Civ. No. 20-3095, 2021           WL 1372308, at *4–5 (complaint did not require dismissal
                                                                    because the court need not adopt, at the pleading stage, any
WL 1207791, at *12 (D.N.J. Mar. 31, 2021);               Timing
                                                                    particular characterization of the claim). Accordingly, it is
Chain, 2017 WL 1902160, at *12;            Alin v. Am. Honda        plausible (though by no means certain) that discovery will
Motor Co., Civ. No. 08-4825, 2010 WL 1372308, at *6                 reveal the manufacturing process to be the source of the
(D.N.J. Mar. 21, 2010). That is, the Amended Complaint              timing chain system, Plaintiffs do not exclusively press a
identifies ways in which the timing chain system does not           design defect theory which would not be covered by the
work. But the Amended Complaint does not pinpoint whether
                                                                    NVLW.      Timing Chain, 2017 WL 1902160, at *12.
that malfunction is only a consequence of design choices
or, as perhaps discovery would reveal, a consequence of
some problem in the manufacturing process. For example, the
Amended Complaint alleges that one part, the ratchet pawl,                             d. Basis of the Bargain
fails. (Am. Compl. ¶ 67.) But the Amended Complaint does
not say whether the ratchet pawl fails because of how it is         VW America argues that a plaintiff must allege that an express
designed or how it is manufactured. Because it may be the           warranty was “part of the basis of the bargain” of his/her
latter, more facts are necessary, and dismissal is inappropriate.   purchase, yet Plaintiffs who purchased used cars fail to allege
                                                                    that they purchased their cars while the NVLW was in effect.
   Timing Chain, 2017 WL 1902160, at *12.                           (VW Mot. at 27.) Under New York and Illinois law, which
                                                                    apply to the relevant claims, an express warranty requires
 *11 VW America responds that the Amended Complaint                 “an affirmation of fact or promise” that “becomes part of
does not adequately allege that the timing chain system's flaw
stems from the manufacturing process. (VW Mot. at 27.)              the basis of the bargain between the parties.”        Reid v.
True, some courts have required “more specific allegations          Unilever U.S., Inc., 964 F. Supp. 2d 893, 905 (N.D. Ill.
to the effect that ... failures could have been caused by           2013); accord Kraft v. Staten Island Boat Sales, Inc., 715 F.
                                                                    Supp. 2d 464, 473 (S.D.N.Y. 2010). Plaintiffs expected that
a flaw in ... [the] manufacturing process.”  Garcia v.              if, pursuant to the NVLW, VW America discovered a defect
Chrysler Grp., LLC, 127 F. Supp. 3d 212, 227 (S.D.N.Y.              during the warranty period—and VW America allegedly did
2015). But principles of       Rule 12(b)(6) counsel that the       —then VW America would repair the defect. VW America,
                                                                    however, did not perform such repairs, and now Plaintiffs
better course is to deny the motion to dismiss. On a   Rule
                                                                    have defective vehicles. Under this theory, Plaintiffs thus
12(b)(6) motion, a court must keep in mind the nature of
                                                                    relied on the NVLW having been complied with, even if it
the plaintiff's claim and asymmetries in access to relevant
                                                                    expired prior to their purchase. VW America points to no New
information. See    Garrett v. Wexford Health, 938 F.3d 69,         York or Illinois case foreclosing that theory.
92–93 (3d Cir. 2019). We cannot expect car owners to know
the precise source of problems with their cars, i.e., whether
a manufacturer purposefully designed a car to function in



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                                                                    Civ. No. 07-2141, 2008 WL 878402, at *4–5 (D.N.J. Mar.
                                                                    31, 2008) (Greenaway, J.); McGee v. Cont'l Tire N. Am., Inc.,
                             ***
                                                                    Civ. No. 06-6234, 2007 WL 2462624, at *4 (D.N.J. Aug.
For the reasons above, the motion to dismiss the express            27, 2007). Things changed last year when the Ninth Circuit
warranty claims will be denied.                                     became the first Court of Appeals to precedentially hold that
                                                                    CAFA does not provide an alternative basis for jurisdiction in
                                                                    MMWA class actions with fewer than 100 named plaintiffs.

                          3. MMWA                                      Floyd v. Am. Honda Motor Co., 966 F.3d 1027, 1035 (9th
                                                                    Cir. 2020). Following Floyd, the consensus in this District
VW America moves to dismiss the MMWA claim on the                   eroded. Every court to address Floyd has followed it. Subaru
ground that the statute does not allow claims by fewer than         Battery, 2021 WL 1207791, at *20; Powell v. Subaru of Am.,
100 named plaintiffs. (VW Mot. at 28–29.) The MMWA                  Inc., 502 F. Supp. 3d 856, 885 (D.N.J. 2020). Faced with
is a federal statute that provides a federal cause of action        no binding authority and a shifting landscape of non-binding
for consumers to assert breach of warranty claims, by               authority, I analyze the statute myself, guided by the courts
incorporation of state law. DeFrank, 2020 WL 6269277, at            that have done so before me.
*17 (citing 15 U.S.C. § 2310(d)(1)). The statute allows a
consumer to bring a claim “(A) in any court of competent            I begin with the plain language of the MMWA. BP P.L.C.
jurisdiction in any State or the District of Columbia; or (B)       v. Mayor & City Council of Baltimore, 141 S. Ct. 1532,
in an appropriate district court of the United States, subject to   1537 (2021). Plaintiffs do not dispute that, because this is
paragraph (3).” § 2310(d)(1). Paragraph 3, in turn, provides        an MMWA action brought in a “district court of the United
that “[n]o claim shall be cognizable” if, among other things,       States,” it is “subject to paragraph (3),” which requires that
“the action is brought as a class action, and the number of         this action, “as a class action,” have more than 100 “named
named plaintiffs is less than one hundred.” § 2310(d)(3)(C).        plaintiffs.” § 2310(d)(1)(B), (3)(C). Although Plaintiffs do
                                                                    not raise the argument, plaintiffs in other cases have tried to
 *12 VW America contends that Plaintiffs’ claim flunks the          skirt paragraph 3's requirements by arguing that their case is
paragraph 3 requirement because there are fewer than 100            one brought “in any court of competent jurisdiction in any
named plaintiffs here. Plaintiffs respond that CAFA provides        State” under subsection (A), such that paragraph 3 does not
a basis for jurisdiction that is an “alternative” to the MMWA       apply. E.g., Chapman v. Gen. Motors, LLC, --- F. Supp. 3d
and does not require 100 named plaintiffs. (Opp. to VW              ----, ----, No. 19-CV-12333, 2021 WL 1286612, at *24–25
Mot. at 25.) CAFA grants federal courts jurisdiction over           (E.D. Mich. Mar. 31, 2021) (“ ‘[A]ny court of competent
class actions when (1) the parties are minimally diverse,           jurisdiction,’ is broad—there is no indication that it is
(2) the class consists of at least 100 members, and (3)             restricted to only state courts, or conversely that federal courts
the amount in controversy exceeds $5 million.     Judon v.          are excluded.” (quoting § 2310(d)(1)(A))). That argument is
Travelers Prop. Cas. Co. of Am., 773 F.3d 495, 500 (3d Cir.         unpersuasive because it renders the subsection referring to
                                                                    federal courts superfluous. Courts avoid interpreting statutes
2014) (citing     28 U.S.C. § 1332(d)(2), (5)(B), (6)). The         in ways that render language or parts of the statutory scheme
issue presented, then, is whether this Court has jurisdiction       superfluous. Aristy-Rosa v. Att'y Gen. U.S., 994 F.3d 112,
over Plaintiffs’ MMWA claim in light of the 100-named-
plaintiffs requirement, considering its interplay with CAFA.        166 n.4 (3d Cir. 2021);       City of Chicago v. Fulton, 141
                                                                    S. Ct. 585, 591 (2021). Interpreting “court of competent
See Samuel-Bassett v. KIA Motors Am., Inc., 357 F.3d 392,           jurisdiction” to include federal courts would do just that;
402 (3d Cir. 2004) (characterizing the MMWA's 100-named-            if “any” court is covered, then subsection (B), referring
plaintiffs requirement as jurisdictional).                          to “district court[s] of the United States” is unnecessary.
                                                                    Moreover, pulling federal courts into subsection (A) would
The Third Circuit has not addressed this issue. Until recently,     nullify the limits on federal jurisdiction which Congress
no other Court of Appeals had either, at least precedentially.      sought to impose via paragraph 3. I hold that this is not
In that silence, a consensus emerged in this District that CAFA     a case under subsection (A), so the 100-named-plaintiffs
provided a way around the MMWA's 100-named-plaintiff                requirement is in play. E.g., Powell, 502 F. Supp. 3d at 885.
requirement. E.g.,     McCalley v. Samsung Elecs. Am., Inc.,



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 *13 The question becomes whether CAFA provides an
escape hatch from that requirement. In other words, did
                                                                                   a. Cross-Cutting Arguments
CAFA, the later-enacted statute, impliedly repeal or modify
the MMWA's requirements? Implied repeals are generally              VW America identifies grounds for dismissal applicable
disfavored.   Me. Cmty. Health Options v. United States,            to all fraud claims, arguing that Plaintiffs’ allegations
140 S. Ct. 1308, 1323 (2020). Rather, “[w]hen confronted            of (i) affirmative representations, (ii) omissions, (iii) pre-
with two Acts of Congress allegedly touching on the same            sale knowledge, and (iv) grounds for equitable relief are
                                                                    insufficient.
topic, this Court ... strive[s] ‘to give effect to both.’ ” Epic
Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1624 (2018) (quoting
   Morton v. Mancari, 417 U.S. 535, 551 (1974)).
                                                                                 i. Affirmative Misrepresentations

There is a way to harmonize the two statutes: CAFA does             VW America argues that Plaintiffs’ fraud claims based
not modify the MMWA's requirements because CAFA applies             on affirmative representations fail because the statements
to suits brought under diversity jurisdiction, which MMWA           are not actionable, and Plaintiffs do not plead causation
suits are not. The MMWA creates a federal cause of action,          or reliance. (VW Mot. at 30–35.) Fraud-based claims are
so federal courts hearing MMWA claims are exercising their
                                                                    subject to a heightened pleading standard.       Fed. R. Civ.
federal-question jurisdiction. See        Mims v. Arrow Fin.
                                                                    P. 9(b);    In re Suprema Specialties, Inc. Secs. Litig., 438
Servs., LLC, 565 U.S. 368, 377, 380 (2012) (when a statute
                                                                    F.3d 256, 272 (3d Cir. 2006). Plaintiffs must plead “the
creates a federal cause of action, the statute furnishes federal-
                                                                    who, what, when, where, and how of the events at issue.”
question jurisdiction, even if it also provides that claims
                                                                    U.S. ex rel. Bookwalter v. UPMC, 946 F.3d 162, 176 (3d
can be brought in state court). In contrast, CAFA modifies
                                                                    Cir. 2019) (citation omitted). Many of Plaintiffs’ allegations
jurisdictional requirements in diversity-jurisdiction cases so
                                                                    do not meet this standard because they simply allege that
that more class actions based only on state law can be brought
                                                                    “Defendants” made “misrepresentations.” (E.g., Am. Compl.
in federal court. Miss. ex rel. Hood v. AU Optronics Corp.,
                                                                    ¶¶ 129–30.) See     Frederico v. Home Depot, 507 F.3d 188,
571 U.S. 161, 165 (2014); see also S. Rep. No. 109-14,
at 10 (2005). Because an MMWA claim creates a federal-              201 (3d Cir. 2007) ( Rule 9(b) “requires, at a minimum,
question case, CAFA does not apply to that claim. Indeed,           that the plaintiff identify the speaker of allegedly fraudulent
there is nothing in CAFA's legislative history indicating that      statements” (citation omitted)). Plaintiffs’ more particular
Congress sought to modify class-action requirements for class       allegations that “Defendants” promoted the “high quality,”
actions pressing federal claims. Floyd, 966 F.3d at 1066. In        “reliability,” “superior performance,” and “safety” of their
short, CAFA and MMWA cases have distinct requirements.              vehicles (e.g., Am. Compl. ¶¶ 142, 457) fare no better because
Plaintiffs do not satisfy the MMWA requirements, so their           they “constitute merely vague and ill-defined opinions or
MMWA claims must be dismissed.                                      puffery” and “are not assurances of fact and thus do not
                                                                    constitute misrepresentations” for purposes of a fraud claim.
The motion to dismiss the MMWA claims (Counts 8, 15, 22,            Argabright, 201 F. Supp. 3d at 608 (quotation marks and
30, 37, 43, 49, 56, 62, 69, 76, 83, 89, and 96) will be granted.    citation omitted); see also, e.g.,  Tatum v. Chrysler Grp.
                                                                    LLC, Civ. No. 10-4269, 2011 WL 1253847, at *4 (D.N.J.
                                                                    Mar. 28, 2011) (car manufacturer's advertising claims that
                           4. Fraud                                 vehicles were “reliable” and “durable” were not affirmative
                                                                    misrepresentations).
Plaintiffs bring fraud claims, under either common law or a
state statute, depending on how the particular state recognizes      *14 That leaves Plaintiffs with only a few particularized
fraud claims. VW America identifies flaws underlying all or         allegations of affirmative misrepresentations. These
most fraud claims as well as flaws specific under individual        remaining allegations stem from alleged misrepresentations
states’ laws.                                                       in the maintenance schedules and warranty booklets that
                                                                    came with the cars. For example, the maintenance schedules
                                                                    and warranty booklets allegedly stated that the timing chain


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needed replacing every 120,000–130,000 miles. (Am. Compl.
¶ 10, Ex. C at 4.) The maintenance schedules and warranty          VW America misapprehends the standard:
booklets thus did not accurately represent that, as Defendants
knew, the timing chain would fail far earlier in a vehicle's
lifetime. (Id. ¶ 15.) Similarly, some maintenance schedules                    [P]laintiffs need not identify specific
listed parts that would need to be replaced but never listed the               samples of representations on which
timing chain. (Id., Ex. C.)                                                    they relied which did not contain
                                                                               the allegedly omitted information,
Assuming      that    these  qualify   as    affirmative                       a standard which technically might
misrepresentations, under New Jersey law Plaintiffs must                       encompass every statement of the
plead that they suffered a loss “as a result of” the                           defendants. Rather, a plaintiff typically
misrepresentations in the materials.        Dugan v. TGI                       need only allege that the defendant
Fridays, Inc., 171 A.3d 620, 637 (N.J. 2017). Other states                     failed to disclose material information,
require more: Plaintiffs must have justifiably relied on the                   and that omission induced the plaintiff
                                                                               to enter into a transaction.
misrepresentations to make the purchase. E.g.,        Yocca v.
Pittsburgh Steelers Sports, Inc., 854 A.2d 425, 438–49 (Pa.
2004). Still further, Plaintiffs’ allegations of causation and
                                                                   DeFrank, 2020 WL 6269277, at *7 (cleaned up). Plaintiffs
reliance must satisfy    Rule 9(b).                                have done just that. (E.g., Am. Compl. ¶ 39.) As a result,
                                                                   their fraud-by-omission claims are adequately alleged. See
They do not. Plaintiffs merely plead in fact-free fashion
                                                                      Dewey, 558 F. Supp. 2d at 527–28 (omissions claims
that they “relied” on “misrepresentations” “at the time of
                                                                   survived while affirmative misrepresentation claims did not
purchase.” (Am. Compl. ¶ 129.) Those are legal conclusions
                                                                   because the standards differed).
not entitled to credit.      Dewey v. Volkswagen AG, 558 F.
Supp. 2d 505, 526–27 (D.N.J. 2008). There are no factual
allegations, then, sketching out the relationship between
                                                                                     iii. Pre-Sale Knowledge
the misrepresentations and Plaintiffs’ losses. For example,
Plaintiffs do not allege “at what point—if ever—each Plaintiff     VW America asserts that all Plaintiffs’ fraud claims
was exposed to one or more of the statements.” Id. Plaintiffs      require allegations that Defendants had knowledge of the
must “inject precision or some measure of substantiation into”     alleged defect at the time of sale. (VW Mot. at 40–41.)
their fraud claims,   Frederico, 507 F.3d at 200, and that         VW America acknowledges that Plaintiffs have included
requires facts to show how individual plaintiffs considered        allegations attempting to speak to pre-sale knowledge, but
the maintenance schedules and warranty booklets. E.g.,             VW America says that they are inadequate. (Id. at 41–49.)

   Dewey, 558 F. Supp. 2d at 527;      Luppino v. Mercedes-
                                                                    *15 VW America is correct that fraud claims usually require
Benz USA, LLC, Civ. No. 09-5582, 2010 WL 3258259, at *6
                                                                   knowledge, but allegations of knowledge are only subject to
(D.N.J. Aug. 16, 2010). Because they do not, fraud claims
                                                                   a plausibility—not particularity—standard. DeFrank, 2020
relying on affirmative misrepresentations will be dismissed.
                                                                   WL 6269277, at *12; see also            Fed. R. Civ. P. 9(b)
                                                                   (“[K]nowledge[ ] and other conditions of a person's mind
                                                                   may be alleged generally.”). VW America also overlooks that,
                        ii. Omissions
                                                                   in assessing pre-sale knowledge under this standard, courts
VW America moves to dismiss claims based on a failure              consider “the totality of allegations ... collectively” and do
to disclose the timing chain defect because Plaintiffs do not      not, as VW America's brief does, attack each allegation one-
allege that, prior to their purchase, they were exposed to “any    by-one.    Ponzio, 447 F. Supp. 3d at 227.
advertisements, statements or literature from Defendants that
should have contained the allegedly omitted disclosure.” (VW       Under the correct standard, Plaintiffs’ allegations suffice.
Mot. at 36.) As a result, Plaintiffs cannot show causation or      The Amended Complaint marshals multiple sources to permit
reliance.


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an inference of knowledge: (1) service bulletins over the            disclose it, or (2) the defendant made a partial, misleading
past decade describing timing chain issues, (2) consumer
                                                                     disclosure.    Timing Chain, 2017 WL 1902160, at *19–20
complaints made to regulators and dealerships, and (3) a
                                                                     (collecting cases). Plaintiffs have alleged as much, so their
redesign of the chain. (Am. Compl. ¶¶ 68, 89–119.) VW
                                                                     allegations suffice for these states’ duty-to-disclose elements.
America quibbles with details about these sources, going
through each individually in an attempt to show it does not          (See Sections III.B.1.c, III.B.4.a.i, supra.) See Majdipour
speak directly to every plaintiff's model or purchase. (VW           v. Jaguar Land Rover N. Am., LLC, Civ. No. 12-07849, 2013
Mot. at 41–49.) But courts assess such allegations at a higher       WL 5574626, at *17–18 (D.N.J. Oct. 9, 2013).
level, asking whether, together, they can establish a general
knowledge.       Ponzio, 447 F. Supp. 3d at 228. Plaintiffs’
allegations allow an inference that Defendants knew the               ii. Missing Necessary Elements under Massachusetts,
timing chain, at least generally, was a problem. That is all they     Michigan, New Jersey, North Carolina, and Ohio Law
need for now.
                                                                     For certain states, VW America argues that Plaintiffs fail to
                                                                     plead additional, necessary elements specific to those states.

                     iv. Equitable Relief                            Under Massachusetts law, VW America argues that there
                                                                     must be a closer relationship between the parties than that
VW America argues that Plaintiffs cannot seek equitable
                                                                     here, where the dealerships intervene between manufacturer
relief for their fraud or consumer-protection claims without
                                                                     and purchaser. (VW Mot. at 55.) The Massachusetts courts
pleading that there is no adequate remedy at law. (VW Mot.
                                                                     have not defined how closely involved the plaintiff and
at 38–40.) But, as a general matter, courts only dismiss claims
                                                                     defendant must have been. They have said that “[p]rivity
not remedies at this early stage. Wright-Phillips v. United
                                                                     is not required,” but the relationship must be more than
Airlines, Inc., Civ. No. 20-14609, 2021 WL 1221111, at *20
(D.N.J. Apr. 1, 2021); In re Riddell Concussion Reduction            “minor,” “insignificant,” or “trivial.” Reisman v. KPMG
Litig., 121 F. Supp. 3d 402, 424–25 (D.N.J. 2015). We still          Peat Marwick LLP, 787 N.E.2d 1060, 1078 (Mass. Ct.
need to decide, e.g., liability before the viability of injunctive   App. 2003) (citation omitted). As explained, the precise
relief comes into play. Riddell, 121 F. Supp. 3d at 424–25. I        relationship between the manufacturing Defendants here
will not dismiss Plaintiffs’ prayers for relief at this time.        and the dealerships is not yet clear. Plaintiffs do not
                                                                     and cannot know what materials or direction Defendants
                                                                     provided to the dealerships. So dismissal in advance of

                b. State-Specific Arguments                          discovery is premature. See         In re Gen. Motors LLC
                                                                     Ignition Switch Litig., 257 F. Supp. 3d 372, 417–18 (S.D.N.Y.
VW America next makes arguments specific to individual               2017) (allowing Massachusetts claim to proceed even when
states’ requirements for a fraud claim.                              plaintiffs purchased cars from dealerships).

                                                                      *16 Under Michigan law, VW America argues that
                                                                     “conduct specifically authorized under laws administered
            i. Fraudulent Concealment under
                                                                     by a regulatory board or officer” is exempt from liability.
         Florida, Georgia, Illinois, Massachusetts,
          New Jersey, New York, and Ohio Law                         (VW Mot. at 53–54 (quoting            Mich. Comp. Laws §
                                                                     445.904(1)).) But VW America has not pointed to any
For fraudulent concealment claims under Florida, Georgia,            laws that “specifically” “authorized” its conduct, i.e., using
Illinois, Massachusetts, New Jersey, New York, and Ohio law,         a specific timing chain system and failing to disclose its
VW America argues that those states either do not impose a           known flaws. Yet VW America bears the burden of showing
duty to disclose on remote manufacturers or distributors, or         this exemption's applicability, and Michigan courts scrutinize
Plaintiffs do not allege facts establishing a duty to disclose.      the relied-upon statute vis-à-vis the conduct to ensure that
(VW Mot. at 50–52.) Under all those states’ laws, however,           defendants cannot escape liability simply by claiming that
a plaintiff pleads a fraudulent concealment claim when (1)
the defendant allegedly knew of a safety defect and failed to        they are subject to a regulatory agency. See   In re Gen.
                                                                     Motors Air Conditioning Mktg. & Sales Pracs. Litig., 406 F.


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                                                                   inapposite because it does not involve allegations, like those
Supp. 3d 618, 642 (E.D. Mich. 2019);  Liss v. Lewiston-
                                                                   here, that defendants concealed a defect and limited the
Richards, Inc., 732 N.W.2d 514, 520–21 (Mich. 2007).
                                                                   warranty accordingly. Nor did Eisert “confront the issue of
Absent a more specific argument, VW America's invocation
                                                                   safety concerns and is therefore not persuasive on this point.”
of the exemption fails.
                                                                      In re Porsche Cars N. Am., Inc., 880 F. Supp. 2d 801,
Under New Jersey law, VW America argues that Plaintiffs            871 (S.D. Ohio 2012). Given the allegations present here that
have not pleaded an “ascertainable loss” because the allegedly     were not addressed in Eisert, I decline to conclude that Eisert
defective component outperformed its warranty period. (VW          compels dismissal of Plaintiffs’ Ohio claims.
Mot. at 55–56.) True, “[t]here are federal cases in New
Jersey which have limited [New Jersey Consumer Fraud
Act or “NJCFA”] claims to defects which occur within the
                                                                              iii. Availability of Class-Wide Relief
warranty period.” DeFrank, 2020 WL 6269277, at *10. But
                                                                            under Colorado, Georgia, and Ohio Law
courts have still agreed that safety hazards, like those alleged
here, can give rise to a NJCFA claim “regardless of the             *17 Under Colorado and Georgia law, VW America argues
duration of the warranty.” Id. at *11. In addition, in cases       that Plaintiffs cannot seek monetary relief on a class-wide
where, as here, plaintiffs allege that defendants concealed
                                                                   basis. (VW Mot. at 56–57 (citing           Colo. Rev. Stat. §
a defect and limited the warranty accordingly, the plaintiffs
                                                                   6-1-113;      Ga. Code Ann. § 10-1-399).) Under Ohio law,
have adequately pleaded a NJCFA claim.          Maniscalco v.
                                                                   VW America argues that Plaintiffs can only maintain a class
Bro. Int'l Corp. (USA), 627 F. Supp. 2d 494, 501–02 (D.N.J.
                                                                   action if they satisfy certain pre-suit requirements, which they
2009). Also significant is that those cases dismissing NJCFA
                                                                   have not. (Id. at 57–59 (citing Ohio Rev. Code § 1345.09(B)).)
claims have done so by concluding that plaintiffs suffered no
                                                                   These arguments involve a complicated issue: whether a state
damages. Id. at *10. Here, Plaintiffs allege a diminution in
                                                                   law's prohibitions or limitations on proceeding as a class
value and costs of replacements, damages sufficient to satisfy
                                                                   action applies in federal court, where        Federal Rule of
the requirement of an ascertainable loss. Mickens v. Ford
Motor Co., 900 F. Supp. 2d 427, 446 (D.N.J. 2012). I reject        Civil Procedure 23 governs class actions. Compare    Lisk
VW America's argument.                                             v. Lumber One Wood Preserving, LLC, 792 F.3d 1331, 1337
                                                                   (11th Cir. 2015) (analyzing the Supreme Court's fractured
Under North Carolina law, VW America argues that Plaintiffs
                                                                   decision in    Shady Grove Orthopedic Associates, P.A. v.
must plead “egregious or aggravating circumstances.” (VW
                                                                   Allstate Insurance Co., 559 U.S. 393 (2010), to hold that
Mot. at 52–53 (quoting Ellis v. La.-Pac. Corp., 699 F.3d
778, 787 (4th Cir. 2012)).) “Egregious or aggravating                 Rule 23 displaces a state's contrary bar), with      In re
circumstances,” however, signifies only that the claim cannot      Lipitor Antitrust Litig., 336 F. Supp. 3d 395, 416–17 (D.N.J.
be based on a mere breach of contract. Ellis, 699 F.3d at 787      2018) (disagreeing with Lisk’s analysis of Shady Grove
                                                                   and holding). VW America's opening brief does not even
(citing   Becker v. Graber Builders, Inc., 561 S.E.2d 905,
                                                                   mention Shady Grove. This is a thorny issue requiring more
910–11 (N.C. Ct. App. 2002)). “Aggravating circumstances
                                                                   development. That development will occur in connection
include conduct of the breaching party that is deceptive.”
                                                                   with class certification. Even if Plaintiffs cannot maintain
Id. (quoting     Becker, 561 S.E.2d at 911). Plaintiffs have       their Colorado, Georgia, Ohio claims as a class, they will
alleged deceptive practices in that Defendants failed to           likely revert to maintaining them individually. It is thus
disclose a defect within their knowledge. Ferro v. Volvo Penta     unnecessary to decide this issue now, so I decline to dismiss
of the Ams., LLC, 731 F. App'x 208, 210 (4th Cir. 2018) (per
                                                                   the Colorado, Georgia, and Ohio claims.         Timing Chain,
curiam).
                                                                   2017 WL 1902160, at *24.

Under Ohio law, VW America argues that an alleged defect
that manifests after the warranty period cannot support a
claim. (VW Mot. at 55.) The only case VW America cites                       iv. Applicability of the Economic Loss
for this proposition, Eisert v. Kantner, No. 2-10-13, 2010                 Rule under Pennsylvania and Florida Law
WL 3836205, at *6–7 (Ohio Ct. App. Oct. 4, 2010), is



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Under Pennsylvania and Florida law, VW America argues               states allow claims to proceed when the tort claim is based
that the economic loss rule bars claims for common-law              on conduct that is either independent of a contract or where
fraudulent concealment that assert only economic harm. (VW
                                                                    there is a risk of personal injury.” Timing Chain, 2017 WL
Mot. at 59–60.) More recent authority suggests that the rule
                                                                    1902160, at *21 (collecting cases). Plaintiffs have alleged as
only applies to negligence claims under Pennsylvania law.
                                                                    much here.
Earl v. NVR, Inc., 900 F.3d 310, 313 (3d Cir. 2021); Knight
v. Springfield Hyundai, 81 A.3d 940, 951–52 & n.9 (Pa. Super.       Second, VW America argues that, under Colorado,
Ct. 2013). Regardless, the rule does not apply when fraud is        North Carolina, Ohio, and California law, a negligent
extrinsic to the contract or fraud induced the plaintiff to enter   misrepresentation claim cannot be based on an omission.
                                                                    (VW Mot. at 62.) However, Plaintiffs plead that Defendants
a contract.     Timing Chain, 2017 WL 1902160, at *17. By
                                                                    misrepresented the need to repair the timing chain in
alleging that Defendants fraudulently concealed the defect,
                                                                    the maintenance schedules and warranty booklets. (Section
Plaintiffs’ allegations cross the hazy line into fraud-in-the-
                                                                    III.B.4.a.i, supra.) Defendants do not raise reliance or
inducement claims. Id.
                                                                    causation problems that would prevent Plaintiffs from relying
                                                                    on these misrepresentations for a negligent misrepresentation
                                                                    claim.
         v. Timeliness of Claims under California,
              Florida, Ohio, and Oregon Law                          *18 Third, VW America argues that, under New Jersey
                                                                    and Washington law, there is no duty to disclose that can
VW America argues that fraud claims under California,
                                                                    form the basis of a negligent misrepresentation claim unless
Florida, Ohio, and Oregon law are all untimely. But those
                                                                    disclosure is necessary to make a previous statement true or
claims’ timeliness turns on when precisely the defect was
                                                                    the parties share a special relationship. (VW Mot. at 64.)
discovered and the nature of Defendants’ alleged fraudulent
                                                                    Plaintiffs allege that defendants made misrepresentations in
concealment. See      Aryeh v. Canon Bus. Sols., Inc., 292 P.3d     maintenance schedules and warranty booklets but did not
                                                                    amend them despite their knowledge of the defect. Thus,
871, 882 (Cal. 2013);    Keegan v. Am. Honda Motor Co.,
                                                                    Plaintiffs’ allegations satisfy the rule VW America puts
284 F.R.D. 504, 543 (C.D. Cal. 2012); Farmers Ins. Exch. v.
                                                                    forward.
First Choice Chiro. & Rehab., 2014 WL 3591558, at *12 (D.
Or. July 18, 2014); Ponzio, 447 F. Supp. 3d at 251. It is thus      Fourth, VW America argues that, under Massachusetts
premature to dismiss claims as untimely. (Section III.B.1.a,        law, Plaintiffs have not adequately pleaded reliance. (VW
supra.)                                                             Mot. at 64.) But to the extent Plaintiffs’ claims negligent
                                                                    misrepresentation claims rely on omissions, they adequately
                                                                    plead reliance. (See Section III.B.4.a.ii, supra.) In any event,
                             ***                                    Massachusetts law leaves reliance, once pled, to the jury. First
                                                                    Marblehead Corp. v. House, 473 F.3d 1, 11 (1st Cir. 2006)
For the foregoing reasons, VW America's motion to dismiss
                                                                    (citing   Nota Constr. Corp. v. Keyes Assocs., 694 N.E.2d
the fraud claims is granted to the extent those claims rely on
                                                                    401, 405 (Mass. Ct. App. 1998)).
affirmative misrepresentations, but the motion is otherwise
denied.
                                                                    Finally, VW America argues that, under California law, the
                                                                    negligent misrepresentation claim is untimely. (VW Mot. at
                                                                    65.) Again, timeliness depends on the time of discovery,
              5. Negligent Misrepresentation                           Cal. Code Civ. P. § 338(d), which cannot be decided now.
                                                                    (Section III.B.1.a, supra.)
VW America puts forward several grounds to dismiss certain
negligent misrepresentation claims.
                                                                    VW America's motion to dismiss                 the    negligent
                                                                    misrepresentation claims will be denied.
First, VW America argues that, under Illinois, Florida, and
California law, claims for negligent misrepresentation are
barred by the economic loss rule. (VW Mot. at 61.) But “those


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                                                                   challenged conduct.”). That is, the nature of the dealerships
                   6. Unjust Enrichment
                                                                   and manufacturers’ relationship is not yet clear. In any event,
VW America puts forward several reasons to dismiss the             “Defendant benefited, at Plaintiffs’ expense, when they sold
unjust enrichment claims.                                          Plaintiffs a vehicle that would not operate properly until the
                                                                   end its purported usual lifespan.”   Timing Chain, 2017 WL
First, VW America argues that Plaintiffs cannot pursue unjust      1902160, at *22.
enrichment claims, which are equitable, without showing that
they lack an adequate legal remedy. (VW Mot. at 65–66.)            Finally, VW America argues that the unjust enrichment
Similarly, VW America argues that Plaintiffs cannot pursue         claims fail because they are predicated on the fraud conduct,
unjust enrichment claims when they have an express contract.       which VW America views as inadequately alleged. (VW Mot.
(Id. at 68–69.) But Plaintiffs may plead unjust enrichment         at 69.) I disagree and find some fraud allegations plausible,
claims in the alternative to their claims at law. Gap Props.,      so this argument fails. (Section III.B.4.a.ii, supra.)
LLC v. Cairo, Civ. No. 19-20117, 2020 WL 7183509, at *4
(D.N.J. Sept. 17, 2020) (citations omitted); see also   Timing     For those reasons, the motion to dismiss the unjust enrichment
Chain, 2017 WL 1902160, at *22.                                    claims will be denied.

Second, VW America argues that some of the unjust
                                                                   IV. CONCLUSION
enrichment claims are untimely. (VW Mot. at 67–68.) Again,
                                                                    *19 For the reasons set forth above, Audi AG's motion to
deciding timeliness is premature. (Section III.B.1.a, supra.)
                                                                   dismiss for lack of personal jurisdiction is denied without
                                                                   prejudice to renewal following jurisdictional discovery. VW
Third, VW America argues that some states do not recognize
                                                                   America's motion to dismiss is granted as to the MMWA
unjust enrichment claims by purchasers from third-party
                                                                   claims, fraud claims based on affirmative misrepresentations,
entities because those purchasers did not confer a direct
                                                                   implied warranty claims under Illinois and Oregon law,
benefit upon the manufacturer-defendant. (VW Mot. at 67–
                                                                   and negligent misrepresentation claims under Georgia and
68.) Similarly, VW America argues that New Jersey requires
                                                                   Oregon law. The motion is otherwise denied.
a direct relationship between the parties. (Id. at 70.) But
the precise nature of the benefit here and relationships
                                                                   A separate order will issue.
underlying it requires factual development. See         In re K-
Dur Antitrust Litig., 338 F. Supp. 2d 517, 544 (D.N.J. 2004)
(“The critical inquiry is whether the plaintiff's detriment and    All Citations
the defendant's benefit are related to, and flow from, the
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                                                           Footnotes


1      Certain citations to the record are abbreviated as follows:
          DE = docket entry
          Am. Compl. = Amended Complaint (DE 29)
          VW Mot. = VW America's Brief in Support of its Motion to Dismiss (DE 45-1)
       Opp. to VW Mot. = Plaintiffs’ Opposition to VW America's Motion to Dismiss (DE 54)
       Opp. to Audi Mot. = Plaintiffs’ Opposition to Audi AG's Motion to Dismiss (DE 53)
          Palmer Decl. = Declaration of Neal Palmer (DE 49)
          Importer Agmt. = Sample Importer Agreement (DE 53-2)
2      The Amended Complaint approaches 2,000 paragraphs, so I offer only a summary of allegations pertinent
       to the current motions.




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3     In any event, the Court lacks general jurisdiction over Audi AG. A court may exercise general jurisdiction over
      a corporation when the corporation has “continuous and systematic contacts with the forum state” such that
      it is “essentially at home” there.      Chavez v. Dole Food Co., 836 F.3d 205, 223 (3d Cir. 2016) (en banc)
      (quotation marks and citation omitted). A corporation is “at home” at least where it is incorporated or has its
      principal place of business. Id. (citation omitted). Audi AG is organized under German law and headquartered
      in Germany. (Am. Compl. ¶ 45.)
4     These claims are for negligent misrepresentation under Georgia law (Count 27), negligent misrepresentation
      under Oregon law (Count 80), and implied warranty under Oregon law (Count 81).
5
      The only binding case VW America relies on is       Werwinski v. Ford Motor Co., 286 F.3d 661, 673 (3d Cir.
      2002), where the Third Circuit noted that car purchasers do not necessarily lack bargaining power, because
      they have freedom to purchase other cars with different warranties or purchase an extended warranty. But
      Werwinski does not require rejection of Plaintiffs’ unconscionability theory at this early stage because its
      discussion did not arise in the context of unconscionability. See id. (discussing whether the economic loss
      doctrine should apply when a plaintiff sues a car manufacturer in tort).
6
      Wilson, 2018 WL 9850223, at *4 (Florida);        Amin v. Mercedes-Benz USA, LLC, 349 F. Supp. 3d 1338,
      1356 (N.D. Ga. 2018) (Georgia);          In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 983–85
      (N.D. Cal. 2014) (California and North Carolina);      Hodgson, Russ, Andrews, Woods & Goodyear, LLP v.
      Isolatek Int'l Corp., 300 A.D.2d 1051, 1052 (N.Y. App. Div. 2002) (New York);             Bobb Forest Prods., Inc.
      v. Morbark Indus. Inc., 783 N.E.2d 560, 576 (Ohio Ct. App. 2002) (Ohio);       Touchet Valley Grain Growers,
      Inc. v. Opp & Seibold Gen. Constr., Inc., 831 P.2d 724, 730 (Wash. 1992) (Washington).
7     VW America argues that certain Plaintiffs did not purchase their cars from authorized dealerships, so they
      are too far removed to be third party beneficiaries. (VW Mot. at 18.) But those are facts outside the Amended
      Complaint. VW America also argues that Plaintiffs must allege more facts to show a third-party beneficiary
      or agency relationship. But one can infer the manufacturers must have agreements with dealerships, and no
      additional details are needed at this time. See      Martinez v. UPMC Susquehanna, 986 F.3d 261, 266 (3d
      Cir. 2021) (a plaintiff need not plead a prima facie case, i.e., every element of a claim, but only “enough facts
      to raise a reasonable expectation that discovery will reveal evidence of each necessary element”).
8     The cases Plaintiffs point to (Opp. to VW Mot. at 18 n.25) arose under the MMWA and reached a different
      result under Illinois law.   Rothe v. Maloney Cadillac, Inc., 518 N.E.2d 1028, 1029–30 (Ill. 1988).


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